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 5
     Attorney for Defendant
 6   VI TRUONG
 7
 8                              UNITED STATES DISTRICT COURT
 9                              EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,                          Case No. 2:09-cr-00421-GEB
12                 Plaintiff,
                                                        STIPULATION AND ORDER FOR
13          v.                                          SUBSTITUTION OF PROPERTY
                                                        SECURING BOND
14   VI TRUONG,
15              Defendant.
     _____________________________/
16
17          IT IS HEREBY STIPULATED by and between Assistant United States Attorney
18   Jason Hitt, counsel for plaintiff, and the below signed counsel for defendant Vi Truong that
19   the real property securing the bond for Mr. Vi Truong be transferred to:
20          1228-1234 12th Ave, Oakland, CA
21          Rebecca Cooc, Mr. Truong’s niece, is the sole owner of the property. This transfer
22   is respectfully requested to this property which has more than $350,000 in equity to secure
23   the bond. The bond for Mr. Truong was set at $500,000, secured by at least $350,000.
24   Counsel for Mr. Truong has spoken with Mr. Hitt, who stated that he does not object to this
25   request and is agreeable to allowing Mr. Truong to secure his bond with the above mentioned
26   property.
27          Counsel has forwarded an appraisal and a title report to Mr. Hitt for his review. He
28   has reviewed the documents and is agreeable to having the bond secured with the property
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 1   owned by Ms. Cooc. Mr. Hitt gave his verbal authorization for this filing.
 2
 3         SO STIPULATED
 4   DATED: October 25, 2011                          /s/ Douglas Horngrad
                                                      DOUGLAS I. HORNGRAD
 5                                                    Counsel for Defendant Vi Truong
 6
 7   DATED: October 25, 2011                          /s/ Jason Hitt
                                                      JASON HITT
 8                                                    Assistant U.S. Attorney
                                                      Counsel for Plaintiff
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10         IT IS SO ORDERED.
11   Dated: October 26, 2011.
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